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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION



 Suzanne Jones,

            Plaintiff,
                                                   CAUSE NO.4:21-cv-733

 V.


                                                   WAIVER OF SERVICE OF
 H. Neil Matkin,in his personal and                SUMMONS
 official capacity; Toni Jenkins, in her
 personal and official capacity; and
 Collin College,

           Defendants.




TO: Collin College, c/o Charles Crawford, Abernathy Roeder Boyd & Hullett,
    P.C., 1700 Redbud Blvd., Suite 300, McKinney,Texas 75069.

       I have received your request to waive service of a summons in this action along

   with a copy ofthe complaint,two copies of this waiver form, and a prepaid means of

   returning one signed copy ofthe form to you. I, or the entity I represent, agree to save

   the expense ofserving a summons and complaint in this case. I understand that I, or

   the entity I represent, will keep all defenses or objections to the lawsuit, the court's

  jurisdiction, and the venue ofthe action, but that I waive any objections to the absence

   of a summons or ofservice. I also understand that I, or the entity I represent, must file

   and serve an answer or a motion under Rule 12 within 60 days from September 27,

   2021,the date when this request was sent(or 90 days if it was sent outside the United
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   States). IfI fail to do so, a default judgment will be entered against me or the entity I

   represent.


       DATED:




                                           ABERNATHY,ROEDE:^ BOYD &
                                           HULLEJTTP.C.



                                           Charles Crawford
                                           Email: ccrawford@abemathy-law.com
                                           1700 RedbudBlvd., Suite 300
                                           McKinney, Texas 75069
                                           Telephone: 214-544-4000
                                           Fax:214-544-4040

                                           ATTORNEYS FOR DEFENDANTS




                Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in
saving unnecessary expenses of serving a summons and complaint. A defendant who is
located in the United States and who fails to retum a signed waiver of service requested
by a plaintiff located in the United States will be required to pay the expenses of service,
unless the defendant shows good cause for the failure.
"Good cause" does not include a belief that the lawsuit is groundless, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or
over the defendant or the defendant's property.
If the waiver is signed and returned, you can still make these and all other defenses and
objections, but you cannot object to the absence of a summons or of service.
If you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule 12 on the plaintiff and file a copy with the court. By
signing and retuming the waiver form, you are allowed more time to respond than if a
summons had been served.
